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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



JOHN DOE

             Plaintiff                                : Civil Action No.: 3:17 -CV-00364-JBA


V.

QUINNIPIAC UNIVERSITY, TERRI
JOHNSON, SEANN KALAGHER,
AND VINCENT CONTRUCCI

             Defendants                               : July25, 2019


                         MOTION TO WITHDRAW APPEARANCE

      Pursuant to Connecticut Practice Book §3-9(b), the undersigned counsel seeks

permission of this Court to withdraw as counsel for the defendants, Quinnipiac

University, Tern Johnson, Seann Kalagher and Vincent Contrucci. Undersigned counsel

is no longer employed with Conway Stoughton LLC. It is the understanding of the

undersigned that Matthew G. Conway, Esq., and Lynn McCormick, Esq., of Conway

Stoughton will be handling this matter moving forward.




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                                              THE DEFENDANTS,
                                              QUINNIPIAC UNIVERSITY, TERRI
                                              JOHNSON, SEANN KALAGHER and
                                              VINCENT CONTRUCCI

                                              Is! Jessica L. Vizvary ct30291
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                                        CERTIFICATION

       I hereby certify that on July 25, 2019, a copy of the foregoing Motion to Withdraw
Appearance was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the
Court's electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court's CM/ECF System.


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